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IN THE UNITED STATES DISTRICT COURT c :5?

FOR THE WESTERN DISTRICT OF TENNESSEE UBLFRZQ $H j “
wESTERN DIVISION "

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LUTRICIA BARNETT BUCKLEY, as

Administratrix of the Estate

of DENVEY BUCKLEY, for the use

and benefit of KATRINA and

LATRICE BUCKLEY, as NeXt Of

Kin and Heirs at law of DENVEY

BUCKLEY, deceased,

Plaintiff,

v. NO. 03-2874 DP
CITY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION,
OFFICER PHILLIP PENNY, OFFICER
KURTIS SCHILK, and OFFICER
ROBERT T. TEBBETTS,
individually and in their
Representative Capacities as
City of Memphis Police
Division Officers,

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Defendants.

 

ORDER GRANTING DEFENDANTS' RENEWED MOTION
FOR LEAVE TO PLEAD OUTSIDE OF TIME

 

Before the Court is Defendant Officers Philip Penny, Kurtis
Schilk, and Robert Tebbetts’s Renewed Motion for Leave to Plead

Outside of Time, filed on April 12, 2005 (dkt #127).1 Plaintiff

 

1 The Court previously denied without prejudice Defendants'
original Motion for Leave to Plead Outside of Time (filed April
l, 2005) based on Defendants’ failure to comply with the
consultation requirement.

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responded on April 15. For the following reasons, the Defendants’
motion is GRANTED.

Plaintiff Lutricia Barnett Buckley is the administratrix of
the estate of Denvey Buckley. She filed this lawsuit on November
21, 2003. The litigation in this case includes multiple motions to
dismiss and for summary judgment, as Well as three amended
complaints. The most recent amended complaint was filed on
September l. It is undisputed that the Defendants’ deadline to
file an answer has passed. Because the Defendant Officers have not
yet filed an answer, they now move for leave to file their answer
out of time.

Under Federal Rule 6{b)(2), the Court may extend.a defendant’s
time to answer after such time has expired, provided that “the
failure was the result of excusable neglect.” The “excusable
neglect” standard is “somewhat of an ‘elastic concept' and is not
limited strictly to omissions caused by circumstances beyond the
control of the movant.” Pioneer Inv. Servs. v. Brunswick Assocs.
Ltd. P’ship, 507 U.S. 380, 392 (l993)(quoting 4A Charles Alan
Wright and Arthur Miller, Federal Practice and Procedure § 1165

(2nd ed. 1987)).2

 

2 Although the Pioneer Court addressed the excusable neglect

standard under Bankruptcy Procedure Rule 9006, it stated that
Rule 9006 “was patterned after” Federal Rule of Civil Procedure

6(b). Pioneer, 507 U.S. at 391. In interpreting the excusable
neglect standard under Rule 9006, the Court looked to its meaning
under Rule 6(b). Id. Several other courts have used analysis

under Pioneer to determine whether a party has met the excusable

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Ultimately, courts must determine whether it is equitable
under the circumstances of the case to allow a defendant to file an
answer after the deadline has passed. gee idi at 395. Courts
should look to factors such as whether the plaintiff would be
prejudiced by the late filing, the length of delay and the impact
on the judicial proceedings, and the reason for the delay. §e§_id_

Applying these factors to the circumstances of the present
case, the Court concludes that the Defendant Officers have
satisfied the excusable neglect standard and thus shall be allowed
to file their answer out of time. First, because the defenses
listed in the proposed answer have all been raised in discovery
(except for contributory negligence), plaintiff has known about the
defenses and has had an opportunity to prepare for trial. Thus,
Plaintiff would not be prejudiced by its tardy filing, and she
candidly admits as much in her response. Second, the judicial
proceedings would not be delayed. Plaintiff has had notice of the
officers' defenses, and the late filing of the answer will not
require the Court or the parties to delay the trial set for January

2006. Third, the Court accepts the Defendant Officers’ statement

 

neglect standard under Rule 6(b). See, e.g., Raymond v. Int'l
Bus. Machs. Corp., 148 F.3d 36, 66 (2d Cir. 1998); Wilkerson v.
Jones, 211 F.Supp.2d 856, 858 (E.D. Mich. 2002); Uehigashi v.
Kal'lamOri, NO. 00-5390, 2001 WL 1586683, at *2 {S.D.N.Y. DeC. 12,
2001)(unpublished).

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to the Court that they in good faith mistakenly believed that they
could wait to file their answer. Therefore, the motion for leave
to plead outside of time is GRANTED. The Defendant Officers are
directed to file the proposed Answer attached to their motion with
the Clerk of Court.

Finallyg the Plaintiff shall have an. opportunity' to take
supplemental depositions, prior to the close of discovery, of any
defendant officer concerning subjects raised in the answer to the
extent these subjects had not been raised in the officers'

depositions that have already been taken.

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United States Magistrate Judge

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Date j /

IT IS SO ORDERED.

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Honorable Bernice Donald
US DISTRICT COURT

